











NUMBER 13-07-00330-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_____________________________________________________________


GABRIEL CAVAZOS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_____________________________________________________________


On appeal from the 138th District Court of Cameron County, Texas.


_____________________________________________________________


MEMORANDUM OPINION





Before Justices Rodriguez, Benavides, and Vela


Memorandum Opinion Per Curiam





	Appellant, GABRIEL CAVAZOS, attempts to appeal a conviction for indecency
with a child.  The trial court has certified that "the defendant has waived the right of
appeal."  See Tex. R. App. P. 25.2(a)(2).

	On August 6, 2007, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether
appellant has a right to appeal; and (3) forward to this Court, by letter, counsel's
findings as to whether appellant has a right to appeal, or, alternatively, advise this
Court as to the existence of any amended certification.

	On August 14, 2007, counsel filed a letter brief with this Court.  Counsel's
response fails to establish either that the certification currently on file with this Court
is incorrect or that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be
dismissed if the trial court's certification does not show that the defendant has the
right of appeal.  Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.
Accordingly, this appeal is dismissed.  Any pending motions are denied as moot.


							PER CURIAM


Do not publish.  

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed this

the 20th day of September, 2007.


